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                   EXHIBIT A
Case 3:17-cv-00072-NKM-JCH Document 649-1 Filed 02/12/20 Page 2 of 10 Pageid#:
                                   8616


  From:             Jessica Phillips
  To:               Ken Kim
  Cc:               Michael Bloch; Yotam Barkai; Jessica Phillips
  Subject:          Sines et al v. Kessler et al Order
  Date:             Friday, February 7, 2020 2:08:57 PM
  Attachments:      2020-02-07 [644] Order re Vendor access to Kline - Mosley.pdf
  Importance:       High


  Ken,

  Please the attached order from Judge Moon. We asked him to order that iDS be able to try to access
  the Cvillereports@gmail.com email address by using Kline’s deplorabletruth email address. You have
  access to that email address and we have very good reason to believe that it is associated with the
  cvillereports@gmail.com email address. We would like you to try to recover the password to the
  cvillereports email account by using your access to deplorabletruth. If this is not clear, let’s have a
  call to walk through it. We would like to do this ASAP.

  Thanks,

  Jessica E. Phillips
  Partner

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  From: ecfnoticing@vawd.uscourts.gov <ecfnoticing@vawd.uscourts.gov>
  Sent: Friday, February 7, 2020 1:39 PM
  To: vawd_ecf_nef@vawd.uscourts.gov
  Subject: Activity in Case 3:17-cv-00072-NKM-JCH Sines et al v. Kessler et al Order
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                                       U.S. District Court

                                  Western District of Virginia

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  Case Name:           Sines et al v. Kessler et al
  Case Number:         3:17-cv-00072-NKM-JCH
  Filer:
  Document Number: 644

  Docket Text:
  ORDER GRANTS Plaintiffs' Request [631] and ORDERS that the Third-Party
  Discovery Vendor may attempt to access the CvilleReports email address,
  image the contents of that email address, and produce such documents
  directly to Plaintiffs' counsel, subject to the same terms concerning purportedly
  privileged documents as in the Court's Order of January 22, 2020 (Dkt. 638 at 3).
  Signed by Senior Judge Norman K. Moon on 2/7/20. (Order mailed to Pro Se
  Parties Elliot Kline, Dillon Hopper and Matthew Heimbach via US Mail (and
  emailed); and also emailed to Christopher Cantwell and Robert Ray)(jcj)


  3:17-cv-00072-NKM-JCH Notice has been electronically mailed to:

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  3:17-cv-00072-NKM-JCH Notice has been delivered by other means to:

  Vanguard America
  c/o Dillon Hopper


  Christopher Cantwell
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  751e4cab8316382080c3adb4a6498c1bc4a7c5ce59cf2d0e398bef2d84b6]]




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                                     8621                      CLERKS OFFICE U.S. DIST. COURT
                                                                                  AT CHARLOTTESVILLE, VA
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                                                                                     02/07/2020
                               UNITED STATES DISTRICT COURT                        JULIA C. DUDLEY, CLERK
                               WESTERN DISTRICT OF VIRGINIA                        BY: /s/ J. JONES
                                       CHARLOTTESVILLE DIVISION                       DEPUTY CLERK

    ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                          v.                             ORDER

    JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                       Defendants.



         This matter is before the Court further to Plaintiffs’ request seeking prompt and direct

  access to certain discovery from Defendant Elliott Kline. Dkt. 631. Specifically, Plaintiffs seek a

  court order authorizing the Third-Party Discovery Vendor to try to access and collect discovery

  from an e-mail address believed to be Kline’s. Id. at 6.

         Plaintiffs’ request stems from Kline’s pattern of ignoring discovery requests and orders in

  this case, which have been catalogued in numerous prior orders from this Court. See, e.g., Dkts.

  638, 634, 621, 613, 610, 600, 599.

         By way of background, this Court found Kline in civil contempt at his Contempt Hearing

  on November 25, 2019, for failure to comply with numerous discovery orders of this Court and

  U.S. Magistrate Judge Joel Hoppe. See Dkts. 600, 599. This Court imposed an escalating set of

  sanctions, including fines and ultimately incarceration, until Kline complied with orders requiring

  him to fully respond to Plaintiffs’ discovery requests. See Dkts. 621, 613, 610. As a result of these

  measures, Kline was compelled to respond to Plaintiffs’ discovery requests and provide credentials

  for several of Kline’s email accounts that may contain responsive documents. Dkt. 634 at 3. This

  Court ultimately released Kline from custody, but to be clear, Kline remains in civil contempt.

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  Kline had not then and still has not proven to this Court that he has purged himself of contempt.

  He has not proven that he has “fully and completely” responded to Plaintiffs’ discovery requests;

  or that he has provided Plaintiffs or the Third-Party Discovery Vendor access to all potentially

  relevant email and social media accounts. Id. at 3–4.

         Faced with Kline’s continued non-compliance, Plaintiffs have sought several discovery

  measures in order to “move this case forward.” Dkt. 631 at 2. This Court has already granted one

  such request by Plaintiffs—that the Third-Party Discovery Vendor produce directly to Plaintiffs’

  counsel any and all documents collected from Elliott Kline’s accounts to which the Vendor does

  have access, which documents contain agreed-upon search terms within the applicable date range.

  Dkt. 638.

         Another request by Plaintiffs is presently before the Court. It concerns the “CvilleReports”

  email address, which Plaintiffs contend was “apparently used by Kline in 2017 and withheld from

  Plaintiffs for the entirety of this litigation.” Dkt. 631 at 1. While Kline was in custody for his civil

  contempt, the Court ordered him to, among other things, provide Plaintiffs access to the

  CvilleReports email account, as it appeared to contain potentially relevant and discoverable

  information. If Kline was unable to provide Plaintiffs such access, the Court required him to submit

  a declaration under oath and penalty of perjury demonstrating his efforts to do so. Dkt. 634 at 1–

  2. Kline submitted such a declaration stating that he did not believe the CvilleReports email

  account was one that he had access to; and that he had attempted to log into the CvilleReports

  email account using known passwords, and his phone number and three of his other email

  addresses for verification, all to no avail. See Dkt. 634 at 2; Dkt. 625.

         After Kline submitted that declaration, Plaintiffs filed a response providing documentation

  to support their assertion that the CvilleReports email account was, indeed, registered to Kline.



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  Dkt. 631 at 3 & Ex. A. Plaintiffs also provided evidence that, contrary to Kline’s statements under

  oath, the CvilleReports email account likely could be accessed via an “account recovery” feature

  using a phone number Kline described as his “primary” phone number or the “DeplorableTruth”

  email account that Kline currently uses. See Dkt. 631 at 3–4 & Exs. B, C. Plaintiffs argued that

  “all indications are” that Kline has “repeatedly lied under oath about [the CvilleReports email

  address],” and that there was a risk “Plaintiffs will be denied access to this trove of important

  evidence.” Dkt. 631 at 5.

         This Court found that “Plaintiffs’ assertions at this stage are grave—that Kline has persisted

  in lying to this Court under oath and under penalty of perjury, even while being held in

  incarceration for civil contempt. And Plaintiffs have provided documentation and evidence in

  support” of those assertions. Dkt. 634 at 3.

         Plaintiffs therefore requested certain discovery orders to try to move the case forward. One

  such request is that the Court issue an order that the Third-Party Discovery vendor be “authorized

  to attempt to obtain access” to the CvilleReports email address, “to image the contents of that email

  address as well, and to produce such documents directly to Plaintiffs.” Dkt. 631 at 6. This Court

  has already found that “Kline’s track-record of failing to fulfill his discovery obligations in a timely

  manner, and unless and until forced to do so by court order and significant sanctions, make him

  uniquely ill-suited to participate in a discovery process that is predicated upon one’s prompt and

  good faith compliance with discovery obligations.” Dkt. 638 at 2. Further still, Plaintiffs presented

  evidence and argument—to which Kline has not responded though afforded the opportunity (Dkt.

  634 at 3)—that even when faced with severe sanctions and incarceration, he still may have lied

  under oath about this email account. On this record, and weighing the evidence presented, the

  Court concludes that it cannot simply accept Kline’s word on the matter.



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         The Court therefore concludes that Plaintiffs have demonstrated that an order authorizing

  the Third-Party Discovery Vendor to attempt to access the CvilleReports email address is

  warranted. The Court finds that the CvilleReports email account is likely to contain discoverable

  information that is important to the development of Plaintiffs’ case. The Court also finds that

  Plaintiffs have a right to test Kline’s assertions that he was unable to access the CvilleReports

  email account. Furthermore, the Court finds that the means identified by Plaintiffs to do so—i.e.,

  that the Third-Party Discovery Vendor itself will attempt to access the CvilleReports accounts, as

  by using any credentials, accounts, or devices from Kline—is not only a reasonable but also likely

  the least burdensome means of accomplishing this end for all parties involved.

         The Court therefore GRANTS Plaintiffs’ request (Dkt. 631), and ORDERS that the Third-

  Party Discovery Vendor may attempt to access the CvilleReports email address, image the contents

  of that email address, and produce such documents directly to Plaintiffs’ counsel, subject to the

  same terms concerning purportedly privileged documents as in this Court’s Order of January 22,

  2020 (Dkt. 638 at 3).

         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to the parties.

         Entered this     7th day of February, 2020.




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